Case 8:16-cv-01741-JLS-KES Document 22 Filed 05/03/17 Page 1 of 1 Page ID #:420



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                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES – GENERAL

 Case No. 8:16-cv-01741-JLS-KESx                                      Date: May 3, 2017
 Title: Peter Cornejo et al. v. The Procter and Gamble Company

 Present: HONORABLE JOSEPHINE L. STATON, UNITED STATES DISTRICT JUDGE

          Terry Guerrero                                             N/A
          Deputy Clerk                                           Court Reporter

   Attorneys Present for Plaintiff:                     Attorneys Present for Defendant:

            Not Present                                           Not Present

 PROCEEDINGS: (IN CHAMBERS) ORDER GRANTING JOINT
              STIPULATION FOR ORDER OF DISMISSAL (Doc. 19)

         Before the Court is a Joint Stipulation for an order of dismissal. (Stip., Doc. 19.)
 Having reviewed the Settlement Agreement and the parties’ Stipulation, the Court does
 not find any evidence that Plaintiffs’ Settlement Agreement is collusive or prejudicial to
 the class. As such, the Court DISMISSES WITH PREJUDICE Plaintiffs’ individual
 claims and DISMISSES WITHOUT PREJUDICE the class claims. Each party shall bear
 its/his own attorneys’ fees and costs. The clerk is instructed to close the case.


                                                           Initials of Preparer:   tg




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                          CIVIL MINUTES – GENERAL                            1
